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                          IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION




    IN RE NATIONAL PRESCRIPTION OPIATE MDL No. 2804
    LITIGATION
                                       Case No. 17-md-2804

    This document relates to:                              Judge Dan Aaron Polster

    City of Chicago v. Purdue Pharma L.P. et al.,
    Case No. 1:17-op-45169


             JOINT STIPULATION OF DESIGNATION OF REMAND RECORD
                         PURSUANT TO JPML RULE 10.4(a)

          Pursuant to Rule 10.4(a) of the Rules of Procedure of the United States Judicial Panel on

Multidistrict Litigation (“JPML”), Plaintiff City of Chicago (the “City”) and Defendants Teva

Pharmaceuticals USA, Inc., Cephalon, Inc., Johnson & Johnson, Janssen Pharmaceuticals, Inc.,

Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc., Endo Health Solutions Inc., Endo

Pharmaceuticals, Inc., Allergan plc f/k/a Actavis plc, Allergan Finance, LLC f/k/a Actavis, Inc.

f/k/a Watson Pharmaceuticals, Inc., Watson Laboratories, Inc., Actavis LLC, Actavis Pharma, Inc.

f/k/a Watson Pharma, Inc., and Mallinckrodt LLC (collectively, “Defendants”),1 hereby submit




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 Claims against Defendants Purdue Pharma L.P., Purdue Pharma Inc., and the Purdue Frederick Company,
Inc. (collectively, “Purdue”), are stayed due to bankruptcy proceedings. Accordingly, Purdue is not
participating in the record designation. In addition, defendants against whom claims were dismissed are
not included in this filing, although the City has continued to preserve its rights to seek relief against those
defendants in its Fourth Amended Complaint, filed April 25, 2019 (corrected version filed May 29, 2019,
MDL Doc. 512). Allergan plc f/k/a Actavis plc, an Irish corporation, contests that it is subject to jurisdiction
in United States courts and expressly reserves all defenses including those related to personal jurisdiction
and service of process.

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the parties’ joint stipulation of the contents of the record to be remanded to the U.S. District Court

for the Northern District of Illinois, and state as follows:

       The City initially filed this case in the Northern District of Illinois on June 2, 2014. The

JPML subsequently transferred the case to this Court for consolidated proceedings as part of in In

re: National Prescription Opiate Litig., Case No. 1:17-MD-2804 (N.D. Ohio). On November 19,

2019, this Court filed Suggestions of Remand, including this action, with the JPML. See MDL

Doc. 2941. The JPML issued a Conditional Remand Order including this action on November 20,

2019. See JPML Doc. 6257. As no party objected to the Conditional Remand Order within seven

days of its issuance, it has now taken effect with respect to this case. See MDL Doc. 2957.

       Pursuant to JPML Rule 10.4(a) and the above-referenced remand order, the following items

are hereby designated for inclusion in the record on remand:

       A. As required by JPML Rule 10.4(b), all entries in the Northern District of Illinois’s

           individual case docket for City of Chicago v. Purdue Pharma L.P. et al., No. 14-cv-

           04361 (N.D. Ill.);

       B. All entries in the Northern District of Ohio’s individual case docket for City of Chicago

           v. Purdue Pharma L.P. et al., No. 1:17-op-45169 from the date of transfer forward; and

       C. The documents from the Master MDL Docket, No. 1:17-md-2804 (N.D. Ohio), that are

           jointly stipulated or designated by a party and listed on Attachment A hereto, provided

           that all parties reserve all rights and objections to documents not jointly designated.

       The parties reserve the right to challenge the relevance, admissibility, and/or legal effect

of any document or filing designated herein upon remand. Further, while the parties were diligent

in reviewing the dockets and making these designations, the parties reserve the right to present to




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the transferor court any documents or filings that were inadvertently excluded from this

designation, and all other parties reserve all objections to such documents.



Dated: December 24, 2019                             Respectfully submitted,

MARK FLESSNER
Corporation Counsel, City of Chicago

BY: /s/ Linda J. Singer
        Linda J. Singer

Thomas P. McNulty
Fiona A. Burke
City of Chicago, Department of Law
30 N. LaSalle St., Suite 1240
Chicago, IL 60602
thomas.mcnulty@cityofchicago.org
fiona.burke@cityofchicago.org
Phone: (312) 744-6929
Fax: (312) 742-3832

Linda Singer
Elizabeth Smith
David I. Ackerman
MOTLEY RICE LLC
lsinger@motleyrice.com
esmith@motleyrice.com
dackerman@motleyrice.com
401 9th Street NW, Suite 1001
Washington, DC 20004
Phone: (202) 232-5504
Fax: (202) 386-9622

Kenneth A. Wexler
Bethany R. Turke
Kara A. Elgersma
Thomas A. Doyle
WEXLER WALLACE LLP
55 W. Monroe Street, Suite 3300
Chicago, IL 60603
kaw@wexlerwallace.com
brt@wexlerwallace.com
tad@wexlerwallace.com
Phone: (312) 346-2222
Fax: (312) 346-0022

Attorneys for Plaintiff City of Chicago

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/s/ Charles C. Lifland
Charles C. Lifland
Sabrina H. Strong
O’MELVENY & MYERS LLP
400 South Hope Street
Los Angeles, CA 90071
Tel: (213) 430-6000
Fax: (213) 430-6407
clifland@omm.com
sstrong@omm.com

Counsel for Defendants Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-
Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; and Janssen
Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals, Inc.

/s/ Donna M. Welch
Donna M. Welch, P.C.
KIRKLAND & ELLIS LLP
300 North LaSalle
Chicago, Illinois 60654
(312) 862-2000
donna.welch@kirkland.com

Counsel for Defendant Allergan Finance, LLC f/k/a Actavis,
Inc. f/k/a Watson Pharmaceuticals, Inc. and Specially Appearing
Defendant Allergan plc f/k/a Actavis plc

/s/ Brien T. O’Connor
Brien T. O’Connor
Andrew J. O’Connor
ROPES & GRAY LLP
Prudential Tower, 800 Boylston Street
Boston, MA 02199-3600
Telephone: (617) 235-4650
Brien.O’Connor@ropesgray.com
Andrew.O’Connor@ropesgray.com

Counsel for Defendant Mallinckrodt LLC




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/s/ Jonathan L. Stern
Jonathan L. Stern
ARNOLD & PORTER KAYE SCHOLER LLP
601 Massachusetts Ave., NW
Washington DC 20001
Phone: (202) 942-5000
Fax: (202) 942-5999
Jonathan.Stern@arnoldporter.com

Counsel for Defendants Endo Pharmaceuticals Inc., Endo Health Solutions Inc., Par
Pharmaceutical Companies, Inc. and Par Pharmaceutical, Inc.

/s/ Steven A. Reed
Steven A. Reed
MORGAN, LEWIS & BOCKIUS LLP
1701 Market Street
Philadelphia, PA 19103
Tel: (215) 963-5603
Fax: (215) 963-5001
Steven.reed@morganlewis.com

Counsel for Defendants
TEVA PHARMACEUTICALS USA, INC.;
CEPHALON, INC.; WATSON
LABORATORIES, INC.; ACTAVIS LLC;
and ACTAVIS PHARMA, INC. F/K/A WATSON PHARMA, INC.




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of December, 2019, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served upon

counsel of record by, and may be obtained through, the Court CM/ECF Systems.

                                                        /s/ Linda Singer
                                                        Linda Singer




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